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                                                                                        Pg 1 of 43

 Fill in this information to identify the case:

                Certa Dose, Inc
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        21-11045
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                     89,312,790.80
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                        89,312,790.80
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                      65,156,947.89
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                               527.68
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        5,977,347.75



4. Total liabilities ...........................................................................................................................................................................       71,134,823.32
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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                                                                    Pg 2 of 43
  Fill in this information to identify the case:

               Certa Dose, Inc
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
                                 21-11045
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Pacific Western Bank-Branch location in Durham NC ______________________
    3.1. _________________________________________________   Checking                          9
                                                                                               ____    8
                                                                                                      ____    4
                                                                                                             ____   2
                                                                                                                    ____         $______________________
                                                                                                                                   54,012.47
          See continuation sheet
    3.2. _________________________________________________  ______________________             ____ ____ ____ ____                 69,388.59
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 123,401.06
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Deposit for Workstation located at 101 Ave. of the Americas, NY, NY
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    8,200.00
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor           Certa Dose, Inc
                _______________________________________________________Pg 3 of 43                           21-11045
                                                                                     Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Prepaid materials and service to SMC Ltd for Midazolam
    8.1.___________________________________________________________________________________________________________                  60,028.00
                                                                                                                                   $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                    68,228.00
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     89,890.30
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   89,890.30
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         5,799.40
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   5,799.40
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 95,689.70
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 2
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                   Certa Dose, Inc                                                                     21-11045
Debtor                                                            Pg 4 of 43
                  _______________________________________________________       Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                        12/30/2020                                                                    223,733.16
  Materials Used to Manufacture the Debtor's Medical Products
   ________________________________________            ______________                                                               $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                                                                      43,744.62
                                                          12/30/2020
  Epinephrine kit, PALS syringe kit, and measuring tapes.______________
    ________________________________________                                     $__________________       ______________________   $______________________
                                                              MM / DD / YYYY

22. Other inventory or supplies
                                                                                                                                      273,540.92
  Materials booked by the Debtor as obsolete or scrap
   ________________________________________                   ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   541,018.70
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
     
     ✔      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                Certa Dose, Inc                                   Pg 5 of 43
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                                                                                Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Outdated laptops (5) and a monitor                                                  0.00                                         0.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 0.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
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 Debtor
                 Certa Dose, Inc
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                                                                                                     21-11045
                                                                              Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Plant equipment (3 label applicators). Fully depreciated and
    customized for Debtor's use. May not have resale value.                  0.00                                         Unknown
    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                      0.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
     
     ✔    Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔    No
         Yes




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 Debtor                                                              Pg 7 of 43
                  _______________________________________________________          Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used     Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value         debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________      ____________________      $_____________________

55.2

                                                                                     $_______________      ____________________      $_____________________

55.3

                                                                                     $_______________      ____________________      $_____________________


56. Total of Part 9.
                                                                                                                                     $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method          Current value of
                                                                                     debtor's interest     used for current value    debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets                                 970,219.13                                      970,219.13
    Patents and licenses for medical devices
    ______________________________________________________________                   $_________________     ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                       Unknown
    domain and site for certadose.com
    ______________________________________________________________                   $_________________     ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                               Unknown
    Costumer list
    ______________________________________________________________                   $_________________     ______________________    $____________________

64. Other intangibles, or intellectual property                                                                                        62,580.21
    ______________________________________________________________
    Trademarks                                                                        $________________     _____________________    $____________________
65. Goodwill                                                                                              Independent Appraisal        80,000,000.00
    Based upon 2019 valuation of $77 million to $160 million
    ______________________________________________________________                    $________________     _____________________    $____________________

66. Total of Part 10.                                                                                                                  81,032,799.34
                                                                                                                                     $____________________
       Add lines 60 through 65. Copy the total to line 89.




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                                                                                   Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
    
    ✔     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                      _______________     –   __________________________         =   $_____________________
                                                                      Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Net Operating Loss
     _________________________________________________________________________________                                2019
                                                                                                            Tax year ___________        7,377,654.00
                                                                                                                                      $_____________________
      Net Tax Credit from R & D
     _________________________________________________________________________________
                                                                                                                      2019
                                                                                                            Tax year ___________       74,000.00
                                                                                                                                      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     See continuation sheet
    ______________________________________________________________                                                                      0.00
                                                                                                                                      $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See Schedule A/B Part 11, Question 74 Attachment
    ______________________________________________________________                                                                      0.00
                                                                                                                                      $_______________________
    Nature of claim                     See Addendum
                                       ___________________________________

    Amount requested                     24,000,000.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Claims against creditors and third parties
    ______________________________________________________________                                                                      0.00
                                                                                                                                      $_______________________

    Nature of claim                     See Addendum
                                       ___________________________________

    Amount requested                     24,000,000.00
                                       $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                        7,451,654.00
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

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Debtor
                   Certa Dose, Inc
                  _______________________________________________________   Pg 9 of 43                           21-11045
                                                                                          Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         123,401.06
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         68,228.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         95,689.70
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         541,018.70
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         81,032,799.34
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         7,451,654.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         89,312,790.80                         0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  89,312,790.80                                                                                    89,312,790.80
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




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 Debtor 1                                                          _                 Case number (if known)
               First Name     Middle Name      Last Name



                                                   Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Chase- branch located in                    Checking                             2336
New York, NY

Balance: 49,316.61

Chase                                       Savings                              6211

Balance: 43.00

Pacific Western Bank- Vb                    Savings                              5032
Business High Y ield MMA

Balance: 20,028.98


73) Interests in insurance policies or annuities

Accord Workers Compensation Policy                            0.00

Accord Automobile Liability - Hired                           0.00
Autos Only

Accord Products Liability Policy                              0.00

Accord Commercial General Liability                           0.00

Philadelphia Insurance Companies                              0.00
Directors and Officers Liability
Insurance

Accord Umbrella Liability Insurance                           0.00
Policy




Official Form 206 A/B                                           Schedule A/B: Property
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                                         Addendum

                                        Schedule A/B

Q. 74. Causes of Action

      1.     Debtor asserts, among other things, claims for misappropriation of assets against
             Daniel Hoffman. An arbitration proceeding is pending in Colorado before JAMS.

      2.     The Debtor asserts claims against John Blood for, among other things, breach of
             fiduciary duty and damages. An arbitration proceeding is pending in Colorado
             before JAMS.

      3.     The Debtor asserts claims against COPIC Insurance Company, Thomas S. Cowan,
             Anthony R. Mayer, Katherine Driscoll, as Trustee for the LFD III GRAT U/A
             8.26.15, Davis Hurley, Theodore Clarke, Niles Cole, Phoebe Fisher, Geraldine
             Lewis Jenkins, Alan Young Synn, Stephen R. Hoffenberg, Brian Harrington,
             Matthew Fleishman, and Steve Rubin for, among other things, fraud, aiding and
             abetting, breach of fiduciary duty, breach of contract, and on other grounds. An
             action is pending in Colorado against some of these parties.

      4.     The Debtor may assert preference claims against any creditor that received a
             preferential transfer within the 90 day period preceding the bankruptcy filing.

Q. 75. Unliquidated Claims or Causes of Action

      1.     The Debtor may possess claims, counter-claims, offsets, or defenses to claims
             asserted against it against the following parties: COPIC Insurance Company,
             Thomas S. Cowan, Anthony R. Mayer, Katherine Driscoll, as Trustee for the LFD
             III GRAT U/A 8.26.15, Davis Hurley, Theodore Clarke, Niles Cole, Phoebe
             Fisher, Geraldine Lewis Jenkins, Alan Young Synn, Stephen R. Hoffenberg, Brian
             Harrington, Matthew Fleishman, and Steve Rubin.
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                                                                              Pg 12 of 43
  Fill in this information to identify the case:
              Certa Dose, Inc
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of New York
                                 21-11045
  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien             of collateral.            claim
     Caleb Hernandez                                              All assets owned and acquired by the
      __________________________________________
                                                                  Debtor.                                                            65,000,000.00
                                                                                                                                   $__________________          82,029,081.93
                                                                                                                                                              $_________________

     Creditor’s mailing address

      784 Columbus Ave.
      ________________________________________________________
      Apt. 7T, New York, NY 10025
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   Agreement    you made, Lien provided pursuant to settlement agreement entered into betw
                                                                   _________________________________________________
       Caleb@certadose.com
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred            11/1/2020
                                     __________________               No
    Last 4 digits of account                                       
                                                                   ✔   Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Pacific Western Bank
                                                                                                                                   $__________________
                                                                                                                                    1,477.00                  $_________________
                                                                                                                                                               20,028.98
      __________________________________________
     Creditor’s mailing address
      PO BOX 6818
      ________________________________________________________
      Carol Stream, IL 60197
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
                             05/2021
    Date debt was incurred __________________
    Last 4 digits of account                                       Agreement you made
                                                                   _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      65,156,947.89
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            3
                                                                                                                                                                page 1 of ___
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                Certa Dose, Inc
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  Debtor            _______________________________________________________   Pg 13 of 43   Case number (if known)_____________________________________
                    Name



                                                                                                                                    Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                                Describe debtor’s property that is subject to a lien
     U.S. Small Business Administration
                                                                   All assets owned and acquired by the
      __________________________________________                   Debtor                                                            155,470.89
                                                                                                                                    $__________________      82,029,081.93
                                                                                                                                                            $_________________
     Creditor’s mailing address

      Attn: Diana St. Louis
      ________________________________________________________

      26 Federal Plaza, Room 3100, New York, NY 10278
      ________________________________________________________




     Creditor’s email address, if known
      Diana.St.Louis@sba.gov
      _________________________________________



     Date debt was incurred          __________________            Describe the lien
     Last 4 digits of account                                       Agreement you made, EIDL Loan; Lien on all                      of the assets of the Debtor
                                                                    __________________________________________________
     number                   _________________
                              7810
                                                                    Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                  
                                                                    ✔   No
     same property?                                                    Yes
     
     ✔ No

      Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                            
                                                                    ✔   No
              No. Specify each creditor, including this               Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


2.__ Creditor’s name                                               Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                    $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                   Describe the lien
     Last 4 digits of account
     number                   _________________                     __________________________________________________


     Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
     same property?                                                    No
      No                                                              Yes

      Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     2 of ___
                                                                                                                                                                           3
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Debtor
               Certa Dose, Inc
               _______________________________________________________                                                    21-11045
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Arthur E. Rosenberg, Esq.
     Holland & Knight
     31 West 52nd Street, 12th Flr.                                                                                    2
                                                                                                               Line 2. __                    _________________
     New York, NY, 10019


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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                                                                                                                                                           3
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   Fill in this information to identify the case:                 Pg 15 of 43

   Debtor
                    Certa Dose, Inc
                    __________________________________________________________________

                                           Southern District of New York
   United States Bankruptcy Court for the: ________________________________

   Case number       21-11045
                     ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Colorado Dept. of Revenue                                                                                                       $_________________
                                                            Check all that apply.
    P.O. Box 17087                                             Contingent
    Denver, CO, 80217                                          Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                    $_________________
                                                            Check all that apply.
    PO Box 7346
    Centralized Insolvency Agency                              Contingent
    Philadelpia, PA, 19101-7346                                Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           527.68
    MASSACHUSETTS DEPARTMENT OF                                                                                                     $_________________
                                                            Check all that apply.
    REVENUE
                                                               Contingent
    ATTN:BANKRUPTCY UNIT                                       Unliquidated
    PO BOX 9564                                                Disputed
    Boston, MA, 02114
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               9
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  Debtor         _______________________________________________________         Case number (if known)_____________________________________
                 Name                                              Pg 16 of 43
 Pa rt 1 .   Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.              Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                          0.00
                                                                                                            $______________________   $_________________
      NYS Dept of Tax And Finance                           As of the petition filing date, the claim is:
      Bankruptcy Section                                    Check all that apply.
      PO Box 5300                                              Contingent
      Albany, NY, 12205-0300                                   Unliquidated
                                                               Disputed


       Date or dates debt was incurred                      Basis for the claim:

       _________________________________
                                                            Taxes & Other Government Units
                                                            _________________________________
       Last 4 digits of account
       number      _______________________
                                                            Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   8
       claim: 11 U.S.C. § 507(a) (_____)
                                                            
                                                            ✔   No
                                                               Yes

2.____ Priority creditor’s name and mailing address
                                                                                                            $______________________   $_________________
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
       Date or dates debt was incurred
       _________________________________                    _________________________________

       Last 4 digits of account
                                                            Is the claim subject to offset?
       number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                               No
       claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


2.____ Priority creditor’s name and mailing address
                                                                                                            $______________________   $_________________
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
       Date or dates debt was incurred
       _________________________________                    _________________________________

       Last 4 digits of account
       number      _______________________                  Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured           No
       claim: 11 U.S.C. § 507(a) (_____)                       Yes


2.____ Priority creditor’s name and mailing address
                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
       Date or dates debt was incurred
                                                            _________________________________
       _________________________________

       Last 4 digits of account                             Is the claim subject to offset?
       number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                               No
       claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page __    9
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  Debtor        _______________________________________________________       Case number (if known)_____________________________________
                Name                                            Pg 17 of 43
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Alan Young Synn                                                                                                          93,035.68
                                                                                                                           $________________________________
                                                                              Contingent
    1302 S. Uinta Ct.                                                         Unliquidated
    Denver, CO, 80231                                                      
                                                                           ✔
                                                                               Disputed
                                                                                                   Convertible Note and/or Judgment
                                                                           Basis for the claim:



    Date or dates debt was incurred            05/20/21
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Anthony R. Mayer                                                       Check all that apply.                             575,730.90
                                                                                                                           $________________________________
    210 University, Blvd., Suite 650                                          Contingent
    Denver, CO, 80206                                                         Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Convertible Note and/or Judgment


    Date or dates debt was incurred            05/20/21
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Brian Harrington                                                                                                         31,004.98
                                                                                                                           $________________________________
                                                                              Contingent
    769 Sandhill Cir.                                                         Unliquidated
    Steamboat Springs, CO, 80487                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Convertible Note and/or Judgment

    Date or dates debt was incurred            05/20/21
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Chase CARDMEMBER SERVICE                                               Check all that apply.
                                                                                                                             37,708.00
                                                                                                                           $________________________________
    PO BOX 6294                                                               Contingent
    Carol Stream, IL, 60197                                                   Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            2020-2021
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Clarus R+D                                                                                                               13,096.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    1233 Dublin Rd                                                            Contingent
    Columbus, OH, 43215                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Professional Services

    Date or dates debt was incurred            2020
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Cooley LLP                                                                                                               144,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    101 California Street, 5th floor                                          Contingent
    San Francisco, CA, 94111                                                  Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:    Professional Fees

    Date or dates debt was incurred            ___________________
                                               2019                        Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    9
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  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 18 of 43
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,782,842.21
                                                                                                                     $________________________________
 COPIC Insurance Company                                                Contingent
 7351 E Lowry Blvd #400                                                 Unliquidated
 Denver, CO, 80230                                                   
                                                                     ✔   Disputed

                                                                     Basis for the claim: Convertible Note and/or Judgment



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        05/20/21
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       19,649.00
                                                                                                                     $________________________________
 Daniel Hoffman
 T. Damien Zumbrennen                                                   Contingent
 PO Box 271134                                                          Unliquidated
 Louisville, CO, 80027                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Employee Claim - Former Officer



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Davis Hurley                                                        Check all that apply.
                                                                                                                      533,630.92
                                                                                                                     $________________________________
 7441 E 8th Ave                                                         Contingent
 Denver, CO, 80230                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred       05/20/21
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30,000.00
                                                                                                                     $________________________________
 Fortis Law Partners                                                 Check all that apply.
 1900 Wazee Street, Suite 300                                           Contingent
 Denver, CO, 80202                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Professional fees



        Date or dates debt was incurred        2020-2021
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Geraldine Lewis-Jenkins                                             Check all that apply.
                                                                                                                       155,059.46
                                                                                                                     $________________________________
 139 Harrison St                                                        Contingent
 Denver, CO, 80206                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred        05/20/21
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
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                                                                                                   21-11045
  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 19 of 43
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             575,580.22
                                                                                                                     $________________________________
 LFD III GRAT U/A 8.26.15                                               Contingent
 Katherine Driscoll                                                     Unliquidated
 1130 S. Franklin Street                                             
                                                                     ✔   Disputed
 Denver, CO, 80210
                                                                     Basis for the claim: Convertible Note and/or Judgment



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        05/20/21
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,073.00
                                                                                                                     $________________________________
 Liu Shen & Associates
 10th Floor, Building 1                                                 Contingent
 10 Caihefang Road                                                      Unliquidated
 Haidian District, China,                                               Disputed

                                                                     Basis for the claim: Professional Fees



        Date or dates debt was incurred        2020-2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Fleishman                                                   Check all that apply.
                                                                                                                      264,497.58
                                                                                                                     $________________________________
 260 Monroe St                                                          Contingent
 Denver, CO, 80206                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred       05/20/21
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16,000.00
                                                                                                                     $________________________________
 McKesson                                                            Check all that apply.
 9954 Mayland Drive                                                     Contingent
 Richmond, VA, 23228                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred        2020
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neugeboren O'Dowd PC                                                Check all that apply.
                                                                                                                       13,474.00
                                                                                                                     $________________________________
 1227 Spruce Street, Suite 200                                          Contingent
 Boulder, CO, 80302                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Professional Fees



        Date or dates debt was incurred        2020-2021
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    9
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  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 20 of 43
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             227,934.54
                                                                                                                     $________________________________
 Niles Cole                                                             Contingent
 703 S Hudson St                                                        Unliquidated
 Denver, CO, 80246                                                   
                                                                     ✔   Disputed

                                                                     Basis for the claim: Convertible Note and/or Judgment



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        05/20/21
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       210,000.00
                                                                                                                     $________________________________
 Pacific Western Bank
 SBA PPP Loan                                                           Contingent
 9701 Wilshire Blvd., #700                                              Unliquidated
 Beverly Hills, CA, 90212                                               Disputed

                                                                     Basis for the claim: PPP Loan. Debtor expects loan to be forgiven.



        Date or dates debt was incurred        2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       8300
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phoebe Fisher                                                       Check all that apply.
                                                                                                                      206,039.62
                                                                                                                     $________________________________
 490 Apple Grove Rd.                                                    Contingent
 Coatesville, PA, 19320                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred       05/20/21
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      71,690.74
                                                                                                                     $________________________________
 Stephen R. Hoffenberg                                               Check all that apply.
 48 Brookhaven Drive                                                    Contingent
 Littleton, CO, 80123                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred        05/20/21
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stiplastics Healthcaring                                            Check all that apply.
                                                                                                                       4,730.00
                                                                                                                     $________________________________
 62 Chemin des Plantees                                                 Contingent
 38160 Saint-Marcellin                                                  Unliquidated
 France                                                                 Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred        2019
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Debtor          _______________________________________________________   Case number (if known)_____________________________________
                  Name                                        Pg 21 of 43
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             292,148.72
                                                                                                                     $________________________________
 Theodore Clarke                                                        Contingent
 25149 US Highway 40                                                    Unliquidated
 Golden, CO, 80401                                                   
                                                                     ✔   Disputed

                                                                     Basis for the claim: Convertible Note and/or Judgment



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        05/20/21
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       677,422.18
                                                                                                                     $________________________________
 Thomas S. Cowan
 1001 Michigan Avenue                                                   Contingent
 Wilmette, IL, 60091                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Convertible Note and/or Judgment



        Date or dates debt was incurred        05/20/21
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________        No
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes




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     Debtor         _______________________________________________________         Case number (if known)_____________________________________
                    Name                                              Pg 22 of 43
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Arthur E. Rosenberg, Esq.
4.1.      Holland & Knight                                                                          3.18
                                                                                               Line _____
          31 West 52nd St., 12th Flr.                                                                                                           ________________
          New York, NY, 10019                                                                       Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




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Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          527.68
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     5,977,347.75
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                5,977,875.43
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




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                                                                                                                                       9 of ___
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 Fill in this information to identify the case:

             Certa Dose, Inc
 Debtor name __________________________________________________________________

                                         Southern District of New
 United States Bankruptcy Court for the:______________________          York
                            21-11045                                         11
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       License agreement for the use of a                New York Genome Center
         State what the contract or    work station located at 101                       101 6th Ave
 2.1     lease is for and the nature
                                       Avenue of the Americas, NY, NY
         of the debtor’s interest
                                                                                         New York, NY, 10013
                                       Lessee
         State the term remaining
                                       12/31/21
         List the contract number of
         any government contract

                                       Collaboration agreement                           Johnson & Johnson Consumer Inc
         State what the contract or                                                      199 Grandview Road
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Skillman, NJ, 08558

         State the term remaining
         List the contract number of
         any government contract

                                       Patent Annuity Management                          Dennemeyer & Co. LLC
         State what the contract or    Agreement                                          181 W. Madison Suite 4500
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Chicago, IL, 60602

         State the term remaining      Renews annually every Nov. 1st
         List the contract number of
         any government contract

                                       Specialty medical device software                  Greenlight Guru
         State what the contract or
 2.4                                                                                      525 South Meridian Street, Suite 3D
         lease is for and the nature
         of the debtor’s interest                                                         Indianapolis, IN, 46225

         State the term remaining      Expires Jun 28th, 2023
         List the contract number of
         any government contract

                                       Supplier and Distributor of Debtor's               Cardinal Health
         State what the contract or    products
 2.5     lease is for and the nature
                                                                                          7000 Cardinal Place
         of the debtor’s interest                                                         Dublin, OH, 43017

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        3
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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Supplier of materials for Epinephrine Par Sterile Products LLC
            State what the contract or    Convenience Kit                       One Ram Ridge Road
   6
 2.____     lease is for and the nature                                         Spring Valley, NY, 10977
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Manufacturing and supply to Certa              SMC Ltd.
            State what the contract or    Dose                                           330 SMC Drive
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Somerset, WI, 54025

            State the term remaining      8/22/21 with automatic renewal
            List the contract number of
            any government contract

                                          Virtual Space Sharing Agreement                Lydian Coworking Group, LLC
            State what the contract or    Lessee                                         2590 Welton Street Suite 200
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Denver, CO, 80205

            State the term remaining
                                          Monthly
            List the contract number of
            any government contract

            State what the contract or
                                          License and Development                        Janssen Pharmaceuticals, Inc.
   9
 2.____     lease is for and the nature   Agreement                                      1125 Trenton-Harbourton Road
            of the debtor’s interest                                                     Titusville, NJ, 80560
            State the term remaining      Until expiration of all obligations
            List the contract number of
            any government contract

                                          Purchasing Agreement                           PREMIER HEALTHCARE ALLIANCE, L.P.
            State what the contract or                                                   13034 Ballantyne Corporate Place
   10
 2.____     lease is for and the nature                                                  Charlotte, NC, 28277
            of the debtor’s interest

            State the term remaining
                                          6/30/22
            List the contract number of
            any government contract

                                          Business Management Software                   Oracle America, Inc.
            State what the contract or
   11
 2.____     lease is for and the nature   NetSuite                                       2300 Oracle Way
            of the debtor’s interest                                                     Austin, TX, 78741

            State the term remaining      3/23/22
            List the contract number of
            any government contract

                                          Storage facility                               Public Storage
            State what the contract or
   12
 2.____     lease is for and the nature
                                                                                         10298 E 45th Ave
            of the debtor’s interest                                                     Denver, CO, 80238

            State the term remaining      Monthly
            List the contract number of
            any government contract



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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Storage of raw materials                       Sterling Storage
            State what the contract or                                                   27 Sterling Road
   13
 2.____     lease is for and the nature                                                  North Billerica, MA, 01862
            of the debtor’s interest
                                          Monthly
            State the term remaining
            List the contract number of
            any government contract

                                          Distribution Agreement                         Alamo Scientific, Inc.
            State what the contract or                                                   7431 Reindeer Trail, Suite 2
   14
 2.____     lease is for and the nature
            of the debtor’s interest                                                     San Antonio, TX, 78238

            State the term remaining      5/30/22- automatic annual renewal
            List the contract number of
            any government contract

                                          Digital content creator                        Praetorian Digital
            State what the contract or                                                   200 Green St. #200
   15
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         San Francisco, CA, 94111

            State the term remaining
                                          5.31/2022 renewed annually.
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



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                                                                                                                                                  3
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Fill in this information to identify the case:
             Certa Dose, Inc
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern                    District of _________
                                                 District of New York
                                                                              (State)
Case number (If known):    21-11045
                          _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                              285,000.00
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                         630,000.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            1,029,228.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                                                                             0.00
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________




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Debtor
                 Certa Dose, Inc
                 _______________________________________________________                                              21-11045
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Pacific Western Bank
             __________________________________________
                                                            05/11/2021
                                                              ________        $_________________
                                                                               7,109.60                     
                                                                                                            ✔     Secured debt
             Creditor’s name
              PO BOX 6818
                                                                                                                 Unsecured loan repayments
              Carol Stream, IL 60197                          ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

              Fortis Law Partners                             ________
                                                            05/11/2021        $_________________
                                                                               25,000.00                         Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              1900 Wazee Street, Suite 300
              Denver, CO 80202                                ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔            Other
                                                                                                                  Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Dr. Caleb Hernandez
             __________________________________________  _________
                                                        11/01/2020             65,000,000.00
                                                                             $__________________
             Insider’s name
                                                                                                          Pursuant to a Settlement Agreement
             784 Columbus Ave.                                                                            dated Nov. 1, 2020, the Debtor
                                                             _________
             Apt. 7T                                                                                      transferred a conditional lien on all of
             New York, NY 10025                                                                           the Debtor's assets in exchange for,
                                                             _________
                                                                                                          among other things, the mutual
                                                                                                          release of all claims.
             Relationship to debtor
              President and Majority Shareholder
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



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                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            COPIC Insurance Company v. Caleb                                                 Chancery Court of Delaware
     7.1.   Hernandez and Certa Dose, Inc.           Action against Caleb                                                                      
                                                                                                                                               ✔   Pending
                                                     Hernandez and Debtor for,
                                                     among other things, alleged                                                                  On appeal

             Case number                             wrongful corporate acts                 500 N. King Street                                   Concluded
                                                     asserted by former shareholder          Wilmington, DE 19801
      2021-0148
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Certa Dose, Inc. and Caleb S.                                                    JAMS Arbitration                                  
                                                                                                                                               ✔   Pending
     7.2.
            Hernandez v. Daniel Hoffman                                                                                                           On appeal

             Case number
                                                                                                                                                  Concluded
                                                     Debtor asserts, among other things,Denver,  COmisap Certa Dose, Inc. has claims against the respondent. The R
                                                                                         claims for


             _________________________________


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                 Certa Dose, Inc
                 _______________________________________________________                                                  21-11045
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).
            As a result of the business shut-down that
            resulted from COVID-19, the Debtor was               224,534.00                                                  06/01/2020           224,435.00
                                                                 ___________________________________________                 _________________   $__________
            awarded a Payroll Protection Loan for the
            amount listed. The loan was forgiven in May

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               _______________________________________________________                                                   21-11045
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Ortiz & Ortiz LLP
            __________________________________________        Wire transfer
   11.1.                                                                                                                 05/28/2021
                                                                                                                         ______________      $_________
                                                                                                                                               20,000.00
            Address

            35-10 Broadway
            Ste. 201
            Astoria, NY 11106




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value


                                                               Lien on all assets and property the debtor                 11/12/2020            65,000,000.00
   13.1.     Caleb Hernandez
            __________________________________________         possesses or will possess.
                                                                                                                          ________________     $_________

            Address
            784 Columbus Ave.
            Apt. 7T
            New York, NY 10025




            Relationship to debtor

            President and Majority Shareholder
            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    2590 Welton Street                                                                                 From        12/15/2019
                                                                                                                          ____________       To   12/31/2021
                                                                                                                                                  ____________
            Ste. 200
            Denver, CO 80205




                                                                                                               From       01/01/2018
                                                                                                                          ____________       To   12/15/2019
                                                                                                                                                  ____________
   14.2.    7351 E. Lowry Blvd.
            Denver, CO 80230




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                 _______________________________________________________                                                 21-11045
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                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                 
                 ✔   No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Certa Dose, Inc
                  _______________________________________________________                                                21-11045
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              _______________________________________________________                                                 21-11045
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Patricia Golkowski                                                                              From 01/02/2018
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               05/30/2021
              Patricia@certadose.com                                                                          To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    Patricia Golkowski                                                                        From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    9216 E 35th Avenue, Denver, CO 80238                                                      To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Patricia Golkowski
                    ______________________________________________________________________________
                    Name
                     9216 E 35th Avenue, Denver, CO 80238




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                    _______________________________________________________                                            21-11045
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                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    COPIC Insurance Company
                     ______________________________________________________________________________
                     Name
                      7351 E Lowry Blvd #400 Denver, CO 80230




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor
                Certa Dose, Inc
                _______________________________________________________                                              21-11045
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     No
     
     ✔     Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held
 Daniel Hoffman                                T. Damien Zumbrennen PO Box 271134 Louisville,
                                               CO, 80027                                                                              _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Dr. Caleb Hernandez                                                                                                             Compensation paid
            ______________________________________________________________            106,115.00
                                                                                      _________________________          _____________
            Name                                                                                                                            within the last 12
            784 Columbus Ave.                                                                                                               months
            Apt. 7T                                                                                                      _____________
            New York, NY 10025
                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            President and Majority Shareholder
            ______________________________________________________________                                               _____________
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Debtor
                   Certa Dose, Inc
                   _______________________________________________________                                                 21-11045
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient                                                 17,231.00
                                                                                            __________________________     _____________

   30.2        Daniel Hoffman
              ______________________________________________________________
              Name                                                                                                         _____________
               c/o T. Damien Zumbrennen, Esq.
               PO Box 271134                                                                                               _____________
               Louisville, CO 80027

                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
     
     ✔       Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund
              TransAmerica
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       07/25/2021
                               _________________
                                MM / DD / YYYY



              /s/ Caleb S. Hernandez
              ___________________________________________________________                              Caleb S. Hernandez
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                      Case number (if known)



                                          Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Neugeboren O'Dowd PC,                 $9,969.00                                Other
1227 Spruce Street,
Suite 200, Boulder, CO
80302

JA Kemp, LLP, 14 South                $8,804.00
Square, Gray's Inn
London WC1R 5JJ, United
Kingdom,

Cardinal, 7000 Cardinal               $25,848.00
Place, Dublin, OH 43017

Greenlight Guru, 601 S                $9,782.00
Meridian St Suite 500,
Indianapolis, IN 46225

Par Pharmaceutical, PO                $30,055.00
Box 840783, Dallas, TX
75284

SMC Ltd., 330 SMC Drive,              $8,959.00
Somerset, WI 54025


7) Legal Actions

Certa Dose, Inc. v. John Blood

No.: 28686

Debtor asserts claims against a former officer for, among other things, breach
of fiduciary duty and fraud.

JAMS Arbitration

Denver, CO

Pending

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COPIC INSURANCE COMPANY, a Colorado corporation; STEPHEN R. HOFFENBERG, M.D.;
ALAN YOUNG SYNN, M.D.; DAVIS K. HURLEY, M.D.; BRIAN C. HARRINGTON, M.D.; NILES
COLE; GERALDINE A. LEWIS-JENKINS; MATTHEW FLEISHMAN, M.D.; and THEODORE J.
CLARKE, M.D., KATHERINE DRISCOLL, Trustee of the 2015 LFD III GRAT- TRUST U/A
8.26.15; PHOEBE FISHER, M.D.; THOMAS S. COWAN; and ANTHONY R. MAYER v. CERTA
DOSE, INC., a Delaware corporation

2019CV34850

Claims by former shareholders for funds loaned under convertible notes for
breach of contract and related claims

Denver County District Court

520 W Colfax Ave, Denver, CO 80204




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               Certa Dose, Inc
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 Debtor Name                                                                      Case number (if known)



                                          Continuation Sheet for Official Form 207
Pending

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CERTA DOSE, INC. v. COPIC INSURANCE COMPANY, a Colorado corporation; STEVE
RUBIN; STEPHEN R. HOFFENBERG; ALAN YOUNG SYNN; DAVIS K. HURLEY; BRIAN C.
HARRINGTON; NILES COLE; GERALDINE A. LEWIS-JENKINS; MATTHEW FLEISHMAN;
THEODORE J. CLARKE; KATHERINE DRISCOLL, Trustee of the 2015 LFD III GRAT-TRUST
U/A 8.26.15; LEE F. DRISCOLL; PHOEBE FISHER; THOMAS S. COWAN; and ANTHONY R.
MAYER.

2021CV30160

Causes of Action include breach of fiduciary duty and breach of duty of good
faith by former shareholders and directors.

Jefferson County District Court

100 Jefferson County Pkwy, Golden, CO 80401

Pending

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CERTA DOSE, INC. and DANIEL HOFFMAN, Plaintiffs, v. COPIC INSURANCE COMPANY,
STEVE RUBIN, STEPHEN R HOFFENBERG, JOHN BLOOD, COOLEYLLP,ALAN YOUNG SYNN,
DAVIS K. HURLEY, BRIAN C. HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL
MILLER, JEFFREY ALVIN DORSEY, GERALDINE A LEWIS-JENKINS, MARK A FOOG, MATrnEW
FLEISHMAN, TI-IEODOREJ . CLARKE, MICHAEL L. PLA1T, KELLY BARJUNG, ADAM DINOW,
TIIOMAS S. COWAN, ANIBONY R MAYER, PHOEBE FISHER, LFD m GRAT-TRUSTU/AS-26-2015,
 .KA1HERINE DRISCOLL, Trustee, and LEEF. DRISCOLL, Defendants.

2019CV34850

Breach of Fiduciary Duty and other causes of action. Case dismissed solely on
jurisdictional grounds.

N.Y.S. Supreme Court, Queens County

88-11 Sutphin Blvd, Jamaica, NY 11435

Concluded

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17) Pension Contributions

TransAmerica                          XX-XXXXXXX




  Official Form 207                       Statement of Financial Affairs for Non-Individuals
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                                                               Pg 43 of 43
 Fill in this information to identify the case and this filing:

              Certa Dose, Inc
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

                              21-11045
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/25/2021
        Executed on ______________                          /s/ Caleb S. Hernandez
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Caleb S. Hernandez
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
